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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY



 IZTOK VODOPWEC,

                     Plaintiff,
                                                    No. 2: 17-cv-13579-KM-JBC
               vs.
                                                               OPINION
 ANTHONY’S LLC, ZVI GUITMAN,
 MARC GUITMAN, and ROBERT
 GELLER,

                     Defendants.



KEVIN MCNULTY, U.S.D.J.:

        Plaintiff Iztok Vodopivec sues his former employers, Anthony’s LLC, Zvi
Guitman, Marc Quitman, and Robert Qeller. He claims the defendants
harassed him on the basis of his Slovenian ethnicity and also engaged in a
stamp-forgery scheme. Now before the court is defendants’ motion to dismiss.
Defendants argue that plaintiffs 42 U.S.C.     §   1981 action fails to state a claim
and therefore this court lacks subject matter jurisdiction over plaintiffs two
state-law claims. For the reasons stated below, defendants’ motion to dismiss
is denied.

   I.      BACKGROUND’

        Plaintiff lztok Vodopivec is a resident of New Jersey and a former
employee of defendant Anthony’s LLC, a coin and stamp collecting business
based in Englewood Cliffs, New Jersey. (Compl.       ¶3   3-4, 8, 20). Defendants Zvi
Guitman (a/k/a Howard), Marc Guitman, and Robert Geller are all members of


      All facts and inferences are construed in favor of the nonmoving party on a
motion to dismiss. Citations to the complaint (ECF No. 1) are abbreviated “Compl.”
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Anthony’s LLC and residents of New Jersey. (Compi.          ¶]    4-7). Iztok Vodopivec,
who was born in Slovenia, alleges defendants forced him to “act Jewish” and
change his name, harassed him because of his Slovenian background, and
terminated him when he disagreed with fraudulent business practices and
insisted on using his actual name of Iztok. (Compi.     ¶   8).
              A. Ethnic Stereotyping Allegations

      Anthony’s LLC hired Iztok Vodopivec around September 2009 to perform
clerical work. (Compl.    ¶f   10, 20, 24). Zvi Guitman immediately demanded Iztok
Vodopivec “act Jewish” and use the name “Isaac” when interacting with
customers. (Compl. ¶j 20-25, 29). Zvi Guitman told Iztok Vodopivec that he
must “act Jewish” or he would be discharged. (Compl.         ¶    26). Zvi allegedly
stated that individuals respected Jewish people as knowledgeable collectors,
that Slovenians were “low life,” and that Slovenians were not respected in this
business. (Compl.     ¶   26, 28). He also allegedly stated that Jewish people were
“discriminated [against] for so long [so] we now rip everyone off.” (Compl.                 ¶   26).
Robert Geller and Marc Guitman would laugh and reaffirm that Iztok
Vodopivec needed to present himself as “more Jewish.” (Compl.             ¶   28).
Defendants told Iztok Vodopivec he was employed by Anthony’s LLC only
because he was married to Zvi Guitman’s daughter-in-law. (Compl.                ¶    28).

          B. Immigration and Tax Fraud Allegations

      Iztok Vodopivec claims that Anthony’s LLC did not comply with
immigration and tax laws. Anthony’s LLC did not initially request Iztok
Vodopivec’s 1-9 application. (Vodopivec states that he is a permanent resident
and is entitled to employment authorization.) (Compl.       ¶f     25, 32, 34). Anthony’s
LLC allegedly had several employees who did not submit 1-9 applications.
(Compl.   ¶   32). Robert Geller threatened Iztok Vodopivec, saying that Anthony’s
LLC paid his immigration bond and could take it away. (Compl.             ¶   19).
Additionally, Zvi Guitman would give Iztok Vodopivec cash raises to avoid
paying additional taxes. (Compl.     ¶   25).



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          C. Fraudulent Business Allegations

      The defendants allegedly forged and altered stamps to make them appear
unique and then sell them for thousands of dollars. (Compl.               ¶      12). Defendants
routinely sold “worthless” stamps for hundreds or thousands of dollars.
(Compi.   ¶   13). For example, Iztok Vodopivec alleges that in August 2017,
Robert Geller trimmed the perforation of a stamp, sanded the stamp with a nail
file, and put glue on the side to make the stamp appear to be a vintage item.
(Compi.   ¶   13).

      Around August 2017, Iztok Vodopivec told Zvi Guitman and Robert
Geller that they should not engage in stamp forgery. (Compl.                 ¶   15). They told
Iztok Vodopivec to “keep his mouth shut” because this was how they ran their
business. (Compl.     ¶   15). In September 2017, Iztok Vodopivec saw Robert Geller
deplete a stamp of its color by applying gum, taking the gum off one stamp,
and transferring it onto an old stamp. (Compi.           ¶   14).

      At this time, a web-based discussion of collectors was created to discuss
alleged forgeries by Anthony’s LLC. (Compl.          ¶   16). Iztok Vodopivec was
concerned and advised Zvi Guitman and Robert Geller that there were serious
allegations against the business. (Compl.        ¶   16). One allegation was that
defendants would purchase coins from unsophisticated customers for less than
their value, exchange the coins for cash, and then split the sums between the
individual defendants rather than deposit it in Anthony’s LLC. (Compl.                   ¶   36).

      Iztok Vodopivec warned Zvi Guitman that Marc Guitman, Zvi Guitman’s
son, was presenting items on eBay as one-of-a-kind items even though these
items were duplicates. (Compl.      ¶   17). Iztok Vodopivec claims that defendants
defrauded customers of millions of dollars. (Compl.             ¶   18). In November 2017,
Iztok Vodopivec told Robert Geller again that the stamp forgery must end and
that they could be subject to criminal prosecution. (Compi.              ¶    18). Robert
Geller, apparently speaking for Zvi Guitman and Marc Guitman as well, told
Iztok Vodopivec to keep the stamp forgery a secret if he wanted to keep his job.



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(Compi. ¶! 19-20). Robert Geller told Iztok Vodopivec that Anthony’s LLC paid
for his immigration bond and could revoke it. (Compi. ¶ 19).
      Iztok Vodopivec feared losing his job because he needed medical
insurance for his wife, who has a disability, and his two young daughters.
(Compl.   30). lztok Vodopivec alleges that defendants harassed him and
          ¶
discriminated against him so he would not report their forgery business.
(Compi.   ¶   31).
              D. Termination

      In October 2017, Iztok Vodopivec told Zvi Guitman that he would no
longer go by the name “Isaac.” (Compl. ¶ 37). Zvi Guitman told lztok Vodopivec
that this was unacceptable and that Iztok Vodopivec had to “fix Mr. Guitman’s
marriage.” (Compl.     ¶   39).

      In November 2017, Iztok Vodopivec told defendants he would not be
intimidated by their threats and discriminatory statements. (Compl. ¶ 32). At
this time, defendants asked Iztok Vodopivec to produce an 1-9 form, which they
had never previously required. (Compl. ¶ 32). Defendants also told Iztok
Vodopivec to stay home until further notice. (Compl.   ¶   32).

     Iztok Vodopivec remained out of work while he prepared his 1-9 form.
(Compi. 40). Defendants then terminated lztok Vodopivec, stating that he had
          ¶
not submitted his 1-9 form. (Compl.        ¶   40).

              E. Initiating this Lawsuit

        Iztok Vodopivec filed a complaint in this court on December 23, 2017.
(ECF No. 1). He asserts three claims:

    •   Count One: Violation of civil rights under 42 U.S.C. § 1981 (Compl.
        ¶ 42-52);
    •   Count Two: Violation of the New Jersey Law Against Discrimination, N.J.
        Stat. Ann. § 10:5-4 (“NJLAD”) (Compi. ¶{ 53-54);
        Count Three: Violation of the New Jersey Conscientious Employee
        Protection Act, N.J. Stat. Ann. § 34:19-1 (“CEPA”) (Compl. ¶11 55-58).




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Iztok Vodopivec seeks compensatory damages and punitive damages in excess
of $300,000. Defendants filed a motion to dismiss on February 15, 2018. (ECF
No. 4). Iztok Vodopivec opposes this motion.

   II.      LEGAL STANDARD

         Federal Rule of Civil Procedure 12(b)(6) provides for the dismissal of a
complaint, in whole or in part, if it fails to state a claim upon which relief can
be granted. The moving party bears the burden of showing that no claim has
been stated. Hedges u. United States, 404 F.3d 744, 750 (3d Cir. 2005). In
deciding a motion to dismiss under Rule 12(b)(6), a court must take all
allegations in the complaint as true and view them in the light most favorable
to the plaintiff. See Warth v. Seldin, 422 U.S. 490, 501 (1975); see Phillips u.
County of Allegheny, 515 F.3d 224, 231 (3d Cir. 2008).

         Federal Rule of Civil Procedure 8(a) does not require that a complaint
contain detailed factual allegations. Nevertheless, “a plaintiffs obligation to
provide the ‘grounds’ of his ‘entitlement to relief requires more than labels and
conclusions, and formulaic recitation of the elements of a cause of action will
not do.” Bell At!. Corp. v. Twornbly, 550 U.S. 544, 555 (2007). Thus, the factual
allegations must be sufficient to raise a plaintiffs right to relief above a
speculative level, such that it is “plausible on its face.” See Id. at 570; see also
Umland     p.   PLANCO Fin. Sews., Inc., 542 F.3d 59, 64 (3d Cir. 2008). A claim has
“facial plausibility when the plaintiff pleads factual content that allows the
court to draw the reasonable inference that the defendant is liable for the
misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing
Twombly, 550 U.S. at 556). While “[tjhe plausibility standard is not akin to a
‘probability requirement’     ...   it asks for more than a sheer possibility.” Iqbal, 556
U.S. at 678.

         The United States Court of Appeals for the Third Circuit has explicated
the Twombly/Iqbal standard on several occasions. See, e.g., Argueta v. U.S.
Immigration & Customs Enforcement, 643 F.3d 60, 70-73 (3d Cir. 2011);



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Santiago v. Wanninsterrwp., 629 F.3d 121, 129-30 (3d Cir. 2010). In doing so,
it has provided a three-step process for evaluating a Rule 12(b)(6) motion:

       To determine whether a complaint meets the pleading standard,
       our analysis unfolds in three steps. First, we outline the elements
       a plaintiff must plead to a state a claim for relief. See [Iqbal, 556
       U.S.] at 675; Argueta, 643 F.3d at 73. Next, we peel away those
       allegations that are no more than conclusions and thus not
       entitled to the assumption of truth. See Iqbal, 556 U.S. at 679;
       Argueta, 643 F.3d at 73. Finally, we look for well-pled factual
       allegations, assume their veracity, and then “determine whether
       they plausibly give rise to an entitlement to relief.” Iqbal, 556 U.S.
       at 679; Argueta, 643 F.3d at 73. This last step is “a context-specific
       task that requires the reviewing court to draw on its judicial
       experience and common sense.” Iqbal, 556 U.S. at 679.
Bistrian v. Levi, 696 F.3d 352, 365 (3d Cir. 2012).
          “In deciding a Rule 12(b)(6) motion, a court must consider only the
complaint, exhibits attached to the complaint, matters of the public record, as
well as undisputedly authentic documents if the complainant’s claims are
based upon these documents.” Mayer v. Belichick, 605 F.3d 223, 230 (3d Cir.
2010); see also In re Asbestos Prods. Liability Litig. (No. VI), 822 F.3d 125, 134
& n.7 (3d Cir. 2016); Buck v. Hampton flop. Sch. Dist., 452 F.3d 256, 260 (3d
Cir. 2006) (“In evaluating a motion to dismiss, we may consider documents
that are attached to or submitted with the complaint, and any matters
incorporated by reference or integral to the claim, items subject to judicial
notice, matters of public record, orders, and items appearing in the record of
the case.”).
   III.      DISCUSSION

          In keeping with the principles stated above, for purposes of this motion
to dismiss, the allegations of the Complaint are taken as true. They have not, of
course, been tested by any finder of fact.

             A. 42 U.S.C.   § 1981 Claim
          Congress passed 42 U.S.C.   § 1981 as part of the Civil Rights Act of 1866
to enforce the rights guaranteed by the Thirteenth Amendment. See St. Francis

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College v. AI-Khazraji, 481 U.S. 604, 612 (1987); Runyon v. MeCrary, 427 U.S.
160, 195 n.6 (1976). It provides, in relevant part:
      All persons within the jurisdiction of the United States shall have
      the same right in every State and Territory to make and enforce
      contracts, to sue, be parties, give evidence, and to the full and
      equal benefit of all laws and proceedings for the security of persons
      and property as is enjoyed by white citizens, and shall be subject
      to like punishment, pains, penalties, taxes, licenses, and exactions
      of every kind, and to no other.
42 U.S.C. § 1981. While the statute does not include the word “race,” the
Supreme Court construes this section to forbid racial discrimination in the
making of private and public contracts. St. Francis College, 481 U.S. at 60g.
The right to contract protected by the statute includes protection from racial
discrimination in employment contracts. See Walker v. Abbott Labs., 340 F.3d
471, 476 (7th Cir. 2003); Estate of Oliva r.’. New Jersey, 579 F. Supp. 2d 643,
664-65 (D.N.J. 2008).

      Courts have interpreted “race” for purposes of section 1981 to include
“ancestry or ethnic characteristics” but not to include “nation of     ...   origin.” St.
Francis College, 481 U.S. at 613. In St. Francis, the Supreme Court noted that
the understanding of “race” in section 1981 includes groups “who might be
deemed Caucasian today,” such as Swedes, Norwegians, Germans, Greeks,
Finns, Italians, Russians, Arabs, Hungarians, etc. Id. at 611; see also Shaare
Tefila Congregation v. Cobb, 481 U.S. 615, 617-18 (1987) (holding that Jews are
“considered to be [a] distinct race[   ]   and hence within the protection of the
statute,” and thus “Jews are not foreclosed from stating a cause of action
against other members of what today is considered to be part of the Caucasian
race”). The Court explained:

      [Section] 1981, “at a minimum,” reaches discrimination against an
      individual “because he or she is genetically part of an ethnically
      and physiognomically distinctive sub-grouping of homo sapiens.” It
      is clear from our holding, however, that a distinctive physiognomy
      is not essential to qualify for § 1981 protection. If respondent on
      remand can prove that he was subjected to intentional

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      discrimination based on the fact that he was born an Arab, rather
      than solely on the place or nation of his origin, or his religion, he
      will have made out a case under § 1981.
St Francis College, 481 U.S. at 613.2 Justice Brennan, concurring in St.
Francis College, claimed that the majority found all types of racial and ethnic
discrimination cognizable under section 1981 except those based on “birthplace
alone.” Id. at 614. (The distinction may appear odd because cases brought
under Title VII often analyze national-origin and ancestry-based claims
together. See Espinoza    i’.   FarahMfg. Co., 414 U.S. 86,89(1973)).

      Many courts have thus agreed that pure national-origin discrimination
claims are not cognizable under section 1981. See, e.g., El-Zabet v. Nissan N.
Am., Inc., 211 F. App’* 460, 462-63 (6th Cir. 2006) (“[I]t is legally impossible to
state a claim for national-origin discrimination under section 1981.”); Fonseca
u. Sysco Food Sea’., 374 F.3d 840, 850 (9th Cir. 2004) (finding that “national
origin discrimination is not within the ambit of 1981”). The Third Circuit also
suggests that a claim based “solely on [one’s] national origin” would not satisfy
the requirements of section 1981.” Bennun u. Rutgers State Univ., 941 F.2d
154, 172 (3d Cir. 1991).

      To state a claim, then, plaintiffs must specifically aleged discrimination
based on ancestry’ or ethnicity, rather than just national origin. For instance,
in Powell v. Independence Blue Cross, the Eastern District of Pennsylvania
found that, for purposes of section 1981, discrimination based on Jewish
ancestry (as opposed to adherence to the tenets of the Jewish faith) is
cognizable. Powell v. Indep. Blue Cross, Inc., No. 95-cv-2509, 1997 WL 137198,
at *7 (E.D. Pa. Mar. 26, 1997). In Gamas a Anheuser-Busch, Inc., the District of
New Hampshire found that Greek national origin is not protected under section



2      Courts have noted that plaintiffs also can bring a section 1981 claim because of
their efforts to protect racial minorities or ethnic groups. “A white person who is
injured as a result of his or her efforts to defend the rights of non-whites has standing
to sue under 1981.” Alder u. Columbia Historical Soc., 690 F. Supp. 9, 15(D.D.C.
1988); see also Schultz u. Wilson, 304 F. App’x 116, 119 (3d Cir. 2008).
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1981—but Greek ancestry is protected. No. 3-cv-89, 2005 WL 419690, at *1
(D.N.H. Feb. 23, 2005).
      Thus, the viability of Iztok Vodopivec’s section 1981 claim depends on
whether he alleges ethnicity and ancestry discrimination or mere
national-origin discrimination. See Wesley a Palace Rehab. & Care Ctr., LL.C.,
3 F. Supp. 3d 221, 228-30 (D.N.J. 2014). Iztok Vodopivec states that Zvi
Guitman “was constantly reminding him that he needs to act Jewish because
being from Slovenia is not acceptable in the coin and stamps business.”
(Compi.   ¶   20). He was told that he needed to “comport himself like a Jewish
person or else he could be discharged.” (Compl.     ¶   26). Zvi Guitman told him
“his Slovenian character was low life” and the other defendants laughed at
these comments. (Compi. ¶ 28). Defendants forced him to go by “Isaac” so
customers would think he was Jewish; they did not permit him to go by his
Slovene name, Iztok. (Compl.     ¶   22-23). Defendants fired Iztok Vodopivec
shortly after he told them he must be called “Iztok,” not “Isaac.” (Compl.
¶   37-41).

      These allegations, while far from thorough and detailed, suggest that
defendants discriminated against Iztok Vodopivec based on his Slovene
ancestry and ethnicity—and not merely upon his having been born in Slovenia.
Defendants refused to acknowledge his Slovene name, forced him to use a
name of a different ethnic group, and also demanded that he “comport himself”
as if he was a member of another ethnicity. This, at the motion to dismiss
stage, establishes a prima facie case under section 1981.
              B. NJLAD Claim

      “The NJLAD prohibits unlawful discrimination against an individual with
respect to terms and conditions of employment because of various traits and


       Defendants point to Budinsky t.’. Coming Glass Works., where the Western
District of Pennsylvania found that Slavic identity is not a protected race within the
ambit of section 1981.42SF. Supp. 786, 787-89 (W.D. Pa. 1977). Budinsky’s holding
and logic have been refuted by the Supreme Court’s decision in St. Francis College u.
Al-Khazraji, 481 U.S. 604 (1987), and therefore I do not rely on it.
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characteristics, including, but not limited to, race, religion, age, sex and
disability.” Davis v. Superv&u, Inc., 13-cv-414, 2013 WL 1704295, at *4 (D.N.J.
Apr. 19, 2013) (citing N.J.S.A.   §   10:5—12(a)). To establish a prima facie case of
discriminatory termination under NJLAD, a plaintiff must adequately plead
that (1) he is a member of a protected class; (2) he was qualified for the position
in question; (3) he suffered an adverse employment action; and (4) that adverse
employment action gives rise to an inference of unlawful discrimination.
Tourtellotte v. Eli Lilly & Co., 636 F. App’x 831, 842 (3d Cir. 2016) (citing Jones
a Sch. Dist. of Phila., 198 F.3d 403, 410-11 (3d Cir. 1999)).
      Iztok Vodopivec’s complaint alleges the following: (1) He is Slovene and is
being discriminated against on the basis of this ethnicity. (2) He appears
qualified to perform clerical services, and defendants do not contest this for
purposes of this motion. (3) He was terminated. (4) His termination followed his
objection to defendants’ demands that he “act Jewish” and use the name
“Isaac.” Those allegations adequately set forth an NJLAD claim.
          C. CEPA Claim

      CEPA is a whistleblower statute that protects workers who object to or
refuse to participate in activities they believe are in violation of a law, rule,
regulation promulgated pursuant to law, or a clear mandate of public policy.
N.J. Stat. Ann.   §   34:19-3; see Dzwonar a McDevitt, 828 A.2d 893, 900 (N.J.
2003). The goal of CEPA is to “protect and encourage employees to report illegal
or unethical workplace activities and to discourage public and private sector
employers from engaging in such conduct.” Abbamont a Piscataway Twp. Ed.
of Ethic., 650 A.2d 958, 971 (N.J. 1994).

      A CEPA claim has four essential elements: (1) the employee reasonably
believed the complained-of conduct was violating either a law, rule, regulation
promulgated pursuant to law, or a clear mandate of public policy; (2) he
performed a whistleblowing activth’; (3) an adverse employment action was
taken; and (4) the adverse employment action occurred because of his



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whistleblowing activity. Clayton a City of At!. City, 722 F. Supp. 2d 581,
588-89 (D.N.J. 2010) (citing Dzwonar, 828 A.2d at 900).
         Iztok Vodopivec has set forth sufficient allegations to maintain a CEPA
claim. (1) He reasonably believed that the complained-of conduct was illegal.
Forgery of a stamp is a crime under New Jersey law, N.J. Stat. Ann.      § 2C:21-1,
and Iztok Vodopivec had reason to believe that defendants were engaging in
forgery. (2) He objected to defendants’ alleged stamp-forgery activities and
repeatedly told them to stop. This is a “whistleblowing activity” as defined by
N.J. Stat. Ann.   § 34: 19-3c. See Smith v. TA Operating, LLC, No. 10-cv-2563,
2012 WL 3527696, at *9 (D.N.J. Aug. 13, 2012) (“[A]ll that CEPA requires is
that plaintiff ‘object to’ [a defendant’s] conduct.”). (3) Iztok Vodopivec was
terminated and it appears that (4) he was terminated, inter alia, for objecting to
the defendants’ alleged stamp forgery. The motion to dismiss is denied as to
Count Three.

   IV.      CONCLUSION

         For the foregoing reasons, defendants’ motion to dismiss is denied. An
appropriate order accompanies this opinion.

Dated: August 1, 2018




                                               KEVIN MCNULTY            7)
                                               United States District Jü’dge




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